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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                                   PLAINTIFFS,

v.                                    No. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                                              DEFENDANTS.


                                 DEFENDANTS’ MOTION IN LIMINE

        Defendants, through counsel, for their Motion in Limine, hereby state as follows:

        1.       This is an action challenging Act 626 of 2021 (the “SAFE Act”). The case is set for

trial commencing October 17, 2022. (See Amended Final Scheduling Order, Doc. 99).

        2.       Plaintiffs bring three claims against the Defendants: (1) the SAFE Act violates the

Equal Protection Clause of the Fourteenth Amendment of the United States Constitution; (2) the

SAFE Act violates the right to parental autonomy under the Due Process Clause of the Fourteenth

Amendment; and (3) the SAFE Act violates the First Amendment’s guarantee of freedom of

speech. See Compl., pp. 41–47.

        3.       Defendants anticipate that Plaintiffs will seek to introduce inadmissible evidence

in the form of arguments, testimony, and exhibits. As a result, Defendants present this Motion in

Limine to exclude the inadmissible evidence.

        4.       Defendants request that the Court enter an Order prohibiting Plaintiffs and their

counsel from referencing the following irrelevant and prejudicial information during any portion

of the trial:

                 a.     Any testimony or evidence concerning a party or witness’s religious
                        affiliations, practices, beliefs, or customs;

                 b.     Any testimony or evidence concerning a party or witness’s personal
                        beliefs on individuals who are lesbian, gay, bisexual, or transgender;
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                c.     Any testimony or evidence concerning a lay person’s opinions on
                       legal or scientific matters, and any matters about which the
                       individual has no personal knowledge;

                d.     Any testimony or evidence that was not disclosed during the course
                       of discovery; and

                e.     Any testimony that is cumulative, repetitive, unnecessary, and not
                       admissible pursuant to Rule 403.

       5.       A brief in support of this Motion is being filed concurrently herewith and is

incorporated herein by reference.

       6.       The following exhibits are attached to this Motion and are incorporated herein by

reference:

                a.     Exhibit A – Excerpts from the Deposition of Laura Perry;

                b.     Exhibit B – Excerpts from the Deposition of Billy Burleigh;

                c.     Exhibit C – Excerpts from the Deposition of Dr. Paul Hruz;

                d.     Exhibit D – Excerpts from the Deposition of Dr. Mark Regnerus;

                e.     Exhibit E – Excerpts from the Deposition of Amy Embry; and

                f.     Exhibit F – Excerpts from the Deposition of Dr. Rhys Branman.

       7.       Defendants note that Pretrial Disclosures have not yet been submitted by either

party to this Court, the deadline for which is set for August 8, 2022. Accordingly, Defendants

reserve the right to amend this Motion and present any defenses available to them after Plaintiffs

submit their Pretrial Disclosures.

       WHEREFORE, Defendants respectfully request that this Court grant their Motion in

Limine, enter an Order excluding the inadmissible evidence, and for all other just and proper relief

to which they are entitled.




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                           Respectfully Submitted,

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